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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

  v.                                             Criminal Action No. 1:14-cr-89-20

  RYAN BROOKS,
        Defendant.

                     OPINION/ REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE

         This matter has been referred to the undersigned Magistrate Judge by the District Court for

  purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

  Ryan Brooks, in person and by counsel, Darrell Ringer, appeared before me on April 15, 2015. The

  Government appeared by Assistant United States Attorney Zelda Wesley. The Court determined that

  Defendant was prepared to enter a plea of “Guilty” to Count Twenty-Four of the Indictment.

         The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

         The Court inquired of Defendant whether he was a citizen of the United States. Defendant

  responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

  were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

  deportation at the conclusion of any sentence; that he would be denied future entry into the United

  States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

  understood.

         The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

  asked the Government to tender the original to the Court. The Court asked counsel for the

  Government if the agreement was the sole agreement offered to Defendant. The Government

  responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for

  the Government to summarize the written plea agreement. Defendant stated that the agreement as
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  summarized by counsel for the Government was correct and complied with his understanding of the

  agreement. The Court ORDERED the written plea agreement filed.

         The Court next inquired of Defendant concerning his understanding of his right to have an

  Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

  Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

  voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

  the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

  Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

  consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

  by the signature of the Assistant United States Attorney appearing.

         Upon consideration of the sworn testimony of Defendant, as well as the representations of

  his counsel and the representations of the Government, the Court finds that the oral and written

  waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

  voluntarily given and the written waiver and consent was freely and voluntarily executed by

  Defendant, Ryan Brooks, only after having had his rights fully explained to him and having a full

  understanding of those rights through consultation with his counsel, as well as through questioning

  by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

  Magistrate Judge filed and made part of the record.

         The undersigned then reviewed with Defendant Count Twenty-Four of the Indictment and

  the elements the Government would have to prove, charging him with aiding and abetting

  distribution of oxycodone, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18 U.S.C. § 2.

  The undersigned then reviewed with Defendant the statutory penalties applicable to an individual


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  adjudicated guilty of the felony charge contained in Count Twenty-Four of the Indictment, the impact

  of the sentencing guidelines on sentencing in general, and inquired of Defendant as to his

  competency to proceed with the plea hearing. From said review the undersigned Magistrate Judge

  determined Defendant understood the nature of the charges pending against him and understood the

  possible statutory maximum sentence which could be imposed upon his conviction or adjudication

  of guilty on Count Twenty-Four was imprisonment for a term of not more than twenty (20) years;

  understood that a fine of not more than $1,000,000.00 could be imposed; understood that both fine

  and imprisonment could be imposed; understood he would be subject to a period of at least three (3)

  years of supervised release; and understood the Court would impose a special mandatory assessment

  of $100.00 for the felony conviction payable on or before the date of sentencing. Defendant also

  understood that his sentence could be increased if he had a prior firearm offense, violent felony

  conviction, or prior drug conviction. He also understood he might be required by the Court to pay

  the costs of his incarceration and supervised release.

         The undersigned also reviewed with Defendant his waiver of appellate and collateral attack

  rights. Defendant understood that if the District Judge imposed an actual sentence with a base

  offense level of twelve (12) or lower, he was waiving his right to appeal his conviction and sentence

  to the Fourth Circuit Court of Appeals on any ground whatsoever, including those grounds set forth

  in 18 U.S.C. § 3742. Defendant further understood that under his plea agreement, he was waiving

  his right to challenge his conviction and sentence in any post-conviction proceeding, including any

  proceeding under 28 U.S.C. § 2255. Defendant understood, however, that he was reserving the right

  to raise claims of ineffective assistance of counsel or prosecutorial misconduct that he learned about

  after the plea hearing, and agreed that he was unaware of any ineffective assistance of counsel or


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  prosecutorial misconduct in his case at this time. From the foregoing, the undersigned determined

  that Defendant understood his appellate rights and knowingly gave up those rights pursuant to the

  conditions contained in the written plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

  and voluntary execution of the written plea bargain agreement, and determined the entry into said

  written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

  undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

  Defendant stated he understood the terms of the written plea agreement and also stated that it

  contained the whole of his agreement with the Government and no promises or representations were

  made to him by the Government other than those terms contained in the written plea agreement.

         The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

  Government as to the non-binding recommendations and stipulation contained in the written plea

  bargain agreement and determined that Defendant understood, with respect to the plea bargain

  agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count

  Twenty-Four of the Indictment, the undersigned Magistrate Judge would write the subject Report

  and Recommendation and would further order a pre-sentence investigation report be prepared by the

  probation officer attending the District Court. The undersigned advised the Defendant that the

  District Judge would adjudicate the Defendant guilty of the felony charged under Count Twenty-Four

  of the Indictment. Only after the District Court had an opportunity to review the pre-sentence

  investigation report, would the District Court make a determination as to whether to accept or reject

  any recommendation or stipulation contained within the plea agreement or pre-sentence report. The

  undersigned reiterated to the Defendant that the District Judge may not agree with the


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  recommendations or stipulation contained in the written agreement. The undersigned Magistrate

  Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

  event the District Court Judge refused to follow the non-binding recommendations or stipulation

  contained in the written plea agreement and/or sentenced him to a sentence which was different from

  that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

  counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

  of guilty accepted.

         Defendant also understood that his actual sentence could not be calculated until after a pre-

  sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

  and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

  and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

  higher sentence than he expected within the statutory maximum for the offense of conviction, he

  would not have a right to withdraw his guilty plea. Defendant further stated his attorney showed him

  how the advisory guideline chart worked but did not promise him any specific sentence at the time

  of sentencing. Defendant stated that he understood his attorney could not predict or promise him

  what actual sentence he would receive from the sentencing judge at the sentencing hearing.

  Defendant further understood there was no parole in the federal system, although he may be able to

  earn institutional good time, and that good time was not controlled by the Court, but by the Federal

  Bureau of Prisons.

         The Court heard the testimony of Sergeant John Rogers of the West Virginia State Police.

  On January 23, 2014, Sergeant Rogers, acting in an undercover capacity, made a call to co-defendant

  Kalif Briggs to arrange a purchase of oxycodone 30 mg pills. Briggs directed Sergeant Rogers to



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  drive to the Circle K on Grafton Road in Monongalia County, West Virginia, within the Northern

  District of West Virginia. After Sergeant Rogers arrived, he saw Briggs arrive in a burgundy Ford

  pickup truck that was driven by Defendant. Briggs called Sergeant Rogers and instructed him to get

  out of his vehicle and get into the truck. Sergeant Rogers got in the back seat of the truck, and saw

  that Defendant was the driver. Sergeant Rogers gave Briggs $150.00, and Briggs gave him five (5)

  oxycodone pills. Afterwards, surveillance observed the truck go back to a residence that was linked

  to Defendant; it was the address listed on his driver’s license. The pills were sent to the State Police

  crime lab, where they were determined to contain oxycodone.

          Defendant stated he heard, understood, and did not disagree with Sergeant Rogers’ testimony.

  The undersigned United States Magistrate Judge concludes the offense charged in Count Twenty-

  Four of the Indictment are supported by an independent basis in fact concerning each of the essential

  elements of such offense. That independent basis is provided by Sergeant Rogers’ testimony.

          Thereupon, Defendant, Ryan Brooks, in the presence of his counsel, Darrell Ringer,

  proceeded to enter a verbal plea of GUILTY to the felony charge in Count Twenty-Four of the

  Indictment.

          Upon consideration of all of the above, the undersigned Magistrate Judge finds that

  Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

  understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

  consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

  the charges against him, not only as to the Indictment as a whole, but in particular as to Count

  Twenty-Four of the Indictment; Defendant understood the consequences of his plea of guilty, in

  particular the maximum statutory penalty to which he would be exposed for Count Twenty-Four;

  Defendant made a knowing and voluntary plea of guilty to Count Twenty-Four of the Indictment;


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  and Defendant’s plea is independently supported by Sergeant Rogers’ testimony which provides,

  beyond a reasonable doubt, proof of each of the essential elements of the charges to which Defendant

  has pled guilty.

         The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

  Twenty-Four of the Indictment herein be accepted conditioned upon the Court’s receipt and review

  of this Report and Recommendation.

         The undersigned further directs that a pre-sentence investigation report be prepared by the

  adult probation officer assigned to this case.

         Counsel for Defendant requested that the Court consider releasing Defendant so that he could

  attend a residential treatment program. Counsel proffered that Defendant’s father and grandmother,

  who live in Athens, Ohio, are willing to provide support for Defendant while he attends such a

  program. Counsel for the Government indicated no objection to Defendant attending a treatment

  program as long as he did not violate any conditions of release in so attending. Counsel for

  Defendant further stated that Defendant’s father and grandmother would be willing to serve as third-

  party custodians for Defendant during his attendance at a treatment program. The Court directed the

  parties to work with the Probation Office to facilitate Defendant’s release to a residential treatment

  program. Accordingly, Defendant is REMANDED to the custody of the United States Marshals

  Service pending further proceedings in this matter, to include potential release to a treatment

  program.

         Any party may, within fourteen (14) days after being served with a copy of this Report and

  Recommendation, file with the Clerk of the Court written objections identifying the portions of the

  Report and Recommendation to which objection is made, and the basis for such objection. A copy


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  of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

  Judge. Failure to timely file objections to the Report and Recommendation set forth above will

  result in waiver of the right to appeal from a judgment of this Court based upon such report and

  recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

  cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

  474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and Recommendation to

  counsel of record.

         Respectfully submitted this 16th day of April, 2015.




                                                       John S. Kaull
                                                       JOHN S. KAULL
                                                       UNITED STATES MAGISTRATE JUDGE




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